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                                                                                          CLERKS OFFICE U.S. DIST. COURT
                                                                                             AT CHARLOTTESVILLE, VA
                                                                                                    FILED
                                                                                              12/12/2018
                                 IN THE UNITED STATES DISTRICT COURT                         JULIA C. DUDLEY, CLERK
                                FOR THE WESTERN DISTRICT OF VIRGINIA                         BY: /s/ J. JONES
                                          Charlottesville Division                               DEPUTY CLERK


  ELIZABETH SINES et al.,                                )
       Plaintiffs,                                       )        Civil Action No. 3:17-cv-00072
                                                         )
  v.                                                     )        ORDER
                                                         )
  JASON KESSLER et al.,                                  )        By:      Joel C. Hoppe
       Defendants.                                       )                 United States Magistrate Judge

             This matter is before the Court on the second motion to withdraw as counsel for

  Defendants Matthew Heimback and Robert Azzmador Ray, ECF No. 372, and various discovery

  matters. On December 12, 2018, the Court held a conference call on the record, and counsel for

  Ray and Heimbach as well as counsel for Plaintiffs participated. 1 During the conference call, the

  Court made the following rulings:

             1. Defendant Ray is directed to sign the consent form allowing Discord to produce any

  discoverable documents or electronically stored information in response to Plaintiffs’ subpoena

  duces tecum. Any production of documents by Discord pursuant to Ray’s consent shall be made

  only to counsel for Ray, James Edward Kolenich, Kolenich Law Office, 9435 Waterstone Blvd.,

  Suite 140, Cincinnati, OH 45249. Within fourteen (14) days of receiving documents from

  Discord, Ray’s counsel shall produce to Plaintiffs’ counsel all non-privileged documents, and for

  any documents withheld, counsel shall submit the documents to the Court for in camera review

  and file a brief explaining why they were withheld. Within fourteen (14) days of service of Ray’s

  brief, Plaintiffs may file a brief in opposition.

             2. The Court takes the second motion to withdraw under advisement. In two weeks, the

  Court will hold a conference call with Ray, Heimbach, their counsel, and Plaintiffs’ counsel



  1
      Counsel for James Alex Fields, Jr., and Richard Spencer also appeared.

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  regarding Ray and Heimbach’s compliance with the Stipulation and Order entered on November

  19, 2018, ECF No. 383, and on the second motion to withdraw.

         Additionally, during the forthcoming conference call, the Court will address Defendant

  Elliot Kline’s compliance with the Stipulation and Order and whether he agrees to sign the

  Discord consent form.

         It is so ORDERED.

                                                      ENTER: December 12, 2018



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




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